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                                                                            United States District Court
                                                                              Southern District of Texas

                                                                                 ENTERED
                                                                             December 07, 2017
                          UNITED STATES DISTRICT COURT
                                                                              David J. Bradley, Clerk
                           SOUTHERN DISTRICT OF TEXAS
                             CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA                    §
                                            §
VS.                                         §   CRIMINAL NO. 2:17-CR-735-7
                                            §
JIMMY CURTIS MULLENAX III; aka              §
CURT; aka MULLENAX                          §

 MEMORANDUM OPINION AND ORDER OF DETENTION PENDING TRIAL

         A detention hearing has been held in accordance with the Bail Reform Act, 18

U.S.C. § 3142(f). The following requires detention of the Defendant pending trial in this

case:

         (1)   There is probable cause to believe the Defendant committed an offense for

which a maximum term of imprisonment of ten years or more is prescribed in 21 U.S.C.

§ 841(b)(1)(A); and

         (2)   The Defendant has not rebutted the presumption that no condition or

combination of conditions will reasonably assure the appearance of the Defendant as

required and the safety of the community.

         The evidence against the Defendant is substantial. The Defendant is a convicted

felon. When he was arrested, he had a loaded firearm and methamphetamine on his

property. He is a gang member who has threatened others, and he has a poor history of

compliance with supervision. The findings and conclusions contained in the Pretrial

Services Report are adopted. The Defendant is a poor bond risk.

         The Defendant is committed to the custody of the United States Marshal or his

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designated representative for confinement in a corrections facility separate, to the extent

practicable, from persons awaiting or serving sentences or being held in custody pending

appeal.   The Defendant shall be afforded a reasonable opportunity for private

consultation with defense counsel. On order of a court of the United States or on request

of an attorney for the Government, the person in charge of the corrections facility shall

deliver the Defendant to the United States Marshal for the purpose of an appearance in

connection with a court proceeding.

       ORDERED this 7th day of December, 2017.


                                             ___________________________________
                                             B. JANICE ELLINGTON
                                             UNITED STATES MAGISTRATE JUDGE




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